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                                                                                        United States District Court
                                                                                          Southern District of Texas

                                                                                             ENTERED
                                                                                         September 24, 2021
                            UNITED STATES DISTRICT COURT
                                                                                          Nathan Ochsner, Clerk
                             SOUTHERN DISTRICT OF TEXAS
                                  MCALLEN DIVISION

UNITED STATES OF AMERICA,                          §
                                                   §
VS.                                                § CIVIL ACTION NO. 7:21-CV-00027
                                                   §
1.100 ACRES OF LAND, MORE OR                       §
LESS, et al,                                       §
                                                   §
          Defendants.                              §

                                              ORDER

       The Court now considers the Joint Stipulation of Dismissal (Dkt. No. 19) filed by

Plaintiff, United States of America, and Defendants, Jose Valentin Ochoa and Ameida Salinas,

Starr County Tax Assessor-Collector, announcing to the Court that the parties stipulate to the

dismissal of all claims by Plaintiff in this case, without prejudice. Pursuant to Federal Rule of

Civil Procedure 71.1(i)(1)(B), before a judgment is entered that vests title in or possession of

property to the plaintiff, the Plaintiff and affected Defendants may dismiss an action without a

court order by filing a stipulation of dismissal. All parties in this case have signed a stipulation of

dismissal, effectively dismissing the case and no further action by this Court is necessary.

       IT IS HEREBY ORDERED that this case shall be CLOSED on the Court’s docket.

       SO ORDERED this 24th day of September, 2021, at McAllen, Texas.


                                                   ___________________________________
                                                   Randy Crane
                                                   United States District Judge




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